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EXHIBIT D

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A. I know that.

Q. Okay. And -- but based on your Complaint, I
think that you've also sued him in what lawyers call
his individual capacity; so not only with his
executive director of TIGHAR hat on and the
organization title, but Ric Gillespie as he's not

associated with TIGHAR, okay?

A. Yes,

Q. Do you understand what I'm saying about --~
A. Yes,

Q. Okay. And would you agree that you have

sued him in his individual capacity, as well?

A. Yes,

MR. STUBSON: Objection to the extent that
it calls for a legal conclusion.
BY MR, MASTERSON:

QO. Okay. Can you articulate for me what you
believe Mr. Gillespie, as a civilian, did to you
separate and apart from his role in TIGHAR?

A. Well, it's my belief that you can't separate
the two. That's part of the problem with an
organization such as TIGHAR where the individual
becomes the organization, and vice versa, and the
persona is essential to the organization, but

obviously survives as a separate entity outside.

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Q. Did he do anything in your contact with him
that was not under that TIGHAR auspices?

A. Well, we'd eat meals together, you know,
talk about other matters.

Qo. Okay. Any of the allegations you've made
against him in the Complaint not under TIGHAR
auspices? Wasn't he always acting as the executive
director of TIGHAR?

MR, STUBSON: Objection, calls for
speculation, but you can answer,

A. My opinion is that Mr. Gillespie was looking
out for Mr. Gillespie and Mrs. Gillespie to a fair
extent, and whatever else he did as TIGHAR was part
of TIGHAR. it was -- a component of it was not
TIGHAR, it was Mr. Gillespie and Mrs. Gillespie.

Q. And what component was that?

A, Earning a living.

Q. So the fact that he draws a salary from
TIGHAR?

A. Yeah, well, amongst other benefits, yes.

Qo. Can you tell me any actions that he took as
an individual in the Complaint as opposed to acting
as TIGHAR's executive director?

A, I think he raised money in TIGHAR's name but

used substantial parts of it for his own benefit,

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personal penefit.

QO. And in -- what personal benefit would that
have been?

A. To maintain his lifestyle, TIT suppose you
would call it.

Q. And that personal benefit, then, is through
his compensation with TIGHAR?

A, Yes.

Q. Whether that's the salary or the benefits,

or whatever?

A, Yes, sir.
Q. You're not saying that he skimmed money
outside -- you know, that he shouldn't have, off of

TIGHAR, you just disagree with his compensation
scheme?

A. Yes, considering it's a non-profit
organization.

Q. As far as you know, was your gift used for
the 2012 expedition?

A. I believe it was.

QO. Do you have any reason to believe it went
for any other purpose?

A, Well, it went in part for the running of
TIGHAR, I'm sure.

QO. Okay.

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